
78 So. 3d 640 (2011)
Mark Anthony CLEVELAND, Appellant,
v.
CREDIT BASED ASSET SERVICING and Clearvu Opportunity XV, LLC, as assignee, Appellees.
No. 1D11-5526.
District Court of Appeal of Florida, First District.
December 15, 2011.
Mark Anthony Cleveland, pro se, Appellant.
Roger A. Kelly of Foster &amp; Kelly, Orlando, for Appellees.
PER CURIAM.
The Court has determined that the appellant failed to timely invoke its appellate jurisdiction. Accordingly, the appeal is dismissed. All pending motions are denied as moot.
WOLF, HAWKES, and ROBERTS, JJ., concur.
